             Case 2:99-cr-00433-WBS Document 1018 Filed 11/15/07 Page 1 of 2

 1   WILLIAM L. OSTERHOUDT, ESQ. (SBN043021)
 2
     LAW OFFICES OF WILLIAM OSTERHOUDT
     135 Belvedere Street
 3   San Francisco, CA 94117
     Telephone: (415) 664-4600
 4
     Facsimile: (415) 664-4691
 5   Osterhoudt@aol.com

 6   Attorney for Defendant
     Bao Lu
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           )         No. CR 99-0433 WBS
11
                                           )
     UNITED STATES OF AMERICA,             )
12                                                   STIPULATION AND [PROPOSED]
                   Plaintiff,              )
                                                     ORDER CONTINUING
13                                         )
                                                     SENTENCING DATE
           vs.                             )
14
                                           )
     BAO LU, et al.,                       )
15
                   Defendants.             )
16
     _____________________________________ )
17
            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
18
     counsel, Benjamin Wagner on behalf of Assistant United States Attorney William S. Wong,
19

20   attorney for plaintiff United States of America, and William Osterhoudt, Esq., attorney for

21   defendant Bao Lu, that the date presently set for Mr. Lu’s re-sentencing, November 19, 2007, be
22
     continued to January 22, 2008.
23
            The reason for this continuance is that counsel for defendant Lu has longstanding travel
24

25
     plans and will be out of the country during the month of November, including November 19, 2007.

26   Therefore this continuance is necessary to enable counsel to appear on behalf of Mr. Lu at
27   resentencing.
28
     //
     _______________________________________________________________________________________________
     Stipu lation and [Proposed ] Ord er Con tinu ing Sen ten cing Date
     [No.CR-99-0433 (WBS)]
                                                       1
             Case 2:99-cr-00433-WBS Document 1018 Filed 11/15/07 Page 2 of 2

 1                                                          Respectfully submitted,
 2
     Dated: November 9, 2007                                Benjamin Wagner (with consent)
 3                                                          Benjamin Wagner
                                                            Assistant United States Attorney
 4

 5
                                                            /s/ William L. Osterhoudt (signature on file)
 6                                                          WILLIAM L. OSTERHOUDT
                                                            Attorney for Bao Lu
 7

 8

 9                                                  ORDER

10          Pursuant to stipulation of the parties, and good cause appearing therefrom, the Court hereby

11   adopts the parties’ stipulation in its entirety as the Court’s findings and its order, and continues the
12
     Sentencing date to December 17, 2007 at 8:30 a.m.
13

14

15
     Dated: November 13, 2007
16

17

18

19

20

21

22

23

24

25

26

27

28

     _______________________________________________________________________________________________
     Stipu lation and [Proposed ] Ord er Con tinu ing Sen ten cing Date
     [No.CR-99-0433 (WBS)]
                                                       2
